          Entered on Docket January 2, 2018

                                                               Below is the Order of the Court.
 1
 2
 3                                                             _____________________
                                                               Mary Jo Heston
 4                                                             U.S. Bankruptcy Judge
                                                              (Dated as of Entered on Docket date above)
 5
 6
 7
 8   ________________________________________________________________

 9                                     UNITED STATES BANKRUPTCY COURT
10                                     WESTERN DISTRICT OF WASHINGTON

11   In Re:                                                   Case No. 17-41711-MJH
12
     Heather Ann Stewart,                                     Chapter 7
13
              Debtor.                                         ORDER TERMINATING THE
14                                                            AUTOMATIC STAY
15
         This matter came before the Court on the Motion for Relief from Automatic Stay filed by
16
     Seterus, Inc. as the authorized subservicer for Federal National Mortgage Association ("Fannie
17
18   Mae") (“Movant”). Based upon the record on file and the representations made to the court, IT

19   IS HEREBY ORDERED:
20
                       1.        This Order affects the real property located at 8305 Cirque Drive West
21
              Unit 5, University Place, WA 98467 (the “Property”).
22
23                     2.        The automatic stay is terminated as to Movant. Movant may pursue all

24            remedies under state law in connection with the Property and security interest, and may
25
              commence or continue any action necessary to obtain complete possession of the
26
              Property free and clear of claims of the bankruptcy estate.
27
28                     3.        Movant, at its option, may offer, provide and enter into any potential

29            forbearance agreement, loan modification, refinance agreement or other loan

              workout/loss mitigation agreement as allowed by state law. Movant may contact Debtor
     Order Granting Relief From Stay                      1                                  McCarthy & Holthus, LLP
     MH# WA-17-136577                                                                    108 1st Avenue South, Ste. 300
                                                                                                    Seattle, WA 98104
                                                                                                       (206) 596-4856
       Case 17-41711-MJH                Doc 32   Filed 01/02/18      Ent. 01/02/18 15:15:36            Pg. 1 of 2
 1            via telephone or written correspondence to offer such an agreement. Any such agreement
 2
              shall be non-recourse unless included in a reaffirmation agreement.
 3
                       4.        The relief granted herein shall be binding and of full force and effect in
 4
 5            any conversion of this case to any other chapter. A conversion to another chapter does

 6            not stay or enjoin the effect of this Order, or prevent Movant from foreclosing and selling
 7            the Property, and recovering its costs, unless otherwise ordered by this Court.
 8
 9
                                                / / / END OF ORDER / / /
10
11
     Submitted by:
12
     McCarthy & Holthus, LLP
13
14   /s/ Lance Olsen
     Lance E. Olsen, Esq. WSBA# 25130
15   Joseph T. McCormick III, Esq. WSBA# 48883
     Attorneys for Movant
16
17
18
19
20
21
22
23
24
25
26
27
28
29


     Order Granting Relief From Stay                       2                           McCarthy & Holthus, LLP
     MH# WA-17-136577                                                              108 1st Avenue South, Ste. 300
                                                                                              Seattle, WA 98104
                                                                                                 (206) 596-4856
       Case 17-41711-MJH               Doc 32     Filed 01/02/18   Ent. 01/02/18 15:15:36        Pg. 2 of 2
